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                                            DIVISION
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 UNITED STATES OF AMERICA                    )     No. 20 CR 369
                                             )
       v.                                  )       Violation: Title 18, United States

 MARTIN A. CROSSLEY                        )
                                           )                       -
                                                   Code, Section 2113(a)

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      The SPECIAL MAY 20Lg GRAND JURY              charges:        IfIAGls{RAf&.IUOGE I{AR.IAI{I

      On or about JuIy 11, 2020, at Glen Ellyn, in the Northern District of lllinois,

Eastern Division,

                              MARTIN A. CROSSLEY

defendant herein, by intimidation, took from the person and presence of a bank

employee approximately $4,106    in United States currency belonging to, and in the
caie, custody, control, management, and possession of'the GIen Ellyn Bank and

Trust, 357 Roosevelt Road, Glen Ellyn, Illinois, the deposits of which were then

insured by the Federal Deposit Insurance Corporation;

      In violation of Title 18, United States Code, Section 2113(a).


                                                 A TRUE BILL:



                                                 FOREPERSON


signed by Timothy Storino on behalf of the
UMTED STATES ATTORNEY
